         Case 4:17-cr-00678 Document 85 Filed on 12/01/21 in TXSD Page 1 of 1
                                                                                              United States District Court
                            IN THE UNITED STATES DISTRICT COURT                                 Southern District of Texas
                            FOR THE SOUTHERN DISTRICT OF TEXAS                                     ENTERED
                                     HOUSTON DIVISION                                           December 02, 2021
                                                                                                Nathan Ochsner, Clerk
UNITED STATES OF AMERICA                               §
                                                       §
v.                                                     §         CRIMINAL ACTION H-17-678
                                                       §
CRISTOFER JOSE GALLEGOS-ESPINAL                        §

                                         NOTICE TO DEFENDANT

        If you have not waived your right to appeal in your plea agreement, you have a right to appeal your
conviction and the sentence imposed under certain circumstances. 18 USC § 3742(a).


        A notice of appeal must be filed with the district clerk within ten days after the entry of the
judgment of conviction or other order from which you want to appeal.


        If you want, the district clerk will prepare and file the notice of appeal for you, but you must make
the request during the ten day period referred to above.


        A notice of appeal must state the judgment or order being appealed and that you are appealing to
the court of appeals for the fifth circuit. It should also set out the part of the proceeding not already on file
which you believe the court reporter needs to include in the record. The designation must be made within
ten days after filing the notice of appeal.


        If you are represented by paid counsel, but cannot pay the cost of appeal, you can ask the court for
permission to appeal in forma pauperis (without paying costs). Your application to appeal in forma
pauperis must be filed with the district clerk within the ten day period after filing the notice of appeal.


        If you proceeded in the district court in forma pauperis (the court appointed an attorney for you),
you may proceed on appeal in forma pauperis without further authorization unless the court certifies in
writing that you are not entitled to do so.

        Signed at Houston, Texas on December 1, 2021.




                                                                  Gray H. Miller
                                                            United States District Judge
